Case 1:09-Cv-00597-LI\/|B-TCB Document 41-22 Filed 10/23/09 Page 1 of 3 Page|D# 768

EXHIBIT U

ease 1:09-cv-00597-LMB-TCB Documem 41-22 Filed 10/23/09 Page 2 of 3 Pa’@eaj#@tds

Roth, Me|issa R.

From: Candess Hunter [candess@hhylaw.com]
Sent: Thursday. Oetober 15, 2009 6:53 PM
To: Dickinson, |'vtichelte J.

Subject: RE: NE! laptop

Attachments: 2009_10__15_14_47_37.pdf

Mlchelle, attached is an Acknowledgement of Receipt signed by your law iirrn's AZ receptionist Paula
Hawley, acknowledging the receipt of NEl‘s laptop. The police have been notified that your client, with
your help, has stolen Joe's laptop and transported the stolen laptop out of state. We demanded its return
Septernber 10. It was right here in our building when you learned that it was Joe's laptop and that he
wanted it back immediately After that, you and/or your client spirited it out of the building and
transported it accross state lines. You have Spent the last 35 days making excuses on why you didn't
return it. l don't know about your jurisdiction, but in AZ, if a lawyer aided and abetted a client in a theft
(and then encouraged the client to transport the stolen property across state lines) the AZ state bar would
frown on that. We are done fooling around with this. lt is now a police matter. I won't be surprised if
you and your client are arrested when you arrive in AZ. Candess J. Hunter, Esq. HUN'I`ER,
HUMPHR_EY & YAVITZ, PLC 2633 E Indian School Rd, #440 Phoenix, Arizona 850] 6 602-275~7733
Telephone 480-452-1376 Faesimile 480-250-5637 Mobile hunter@hhylaw.com www.hhylaw.com
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recipientl Any review or distribution by others is strictly prohibited If you are not the intended recipient,
please contact the sender and delete and destroy all copies. Thank you. ----- Original Message -----
From: CJH To: "Dickinson, Michelle J." Sent: 10/15/2009 1:13PM Subject: R.E: NEI laptop Wrong.
Read my lips - The NEI laptop W"ILL NOT remain in our office for one more day. Your time is up.
Candess J. Hunter, Esq. HUNTER, HUMPHREY & YAVI'I`Z, PLC 2633 E Indian School Rd, #440
Phoenix, Arizona 85016 602-275-7733 Telephone 480-452-1376 Facsimile 480-250-5637 Mobile
hunter@hhylaw.com www.hhylaw.com NOTICE: This e-mail may contain confidential and privileged
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prohibited If you are not the intended reeipient, please contact the sender and delete and destroy all
copies. Thank you. ----- Original Message ----- From: “Dickinson, Michelle J.“ To: "Candess Hunter"
Sent: 10/15/2009 12:44PM Subject: RE: NEI laptop l did not see this email before I sent my last email. I
assume all issues are taken care of and you will provide us with a date and time for the exchange and
imaging of the tower. From: Candess Hunter [mailto:candess@hhylaw.com] Sent: Thursday, Oetober
15, 2009 3:] 9 PM To: Dickinson, Michelle J. Subject: NEI laptop Only 45 minutes to go and, if I don't
hear from you, l will make the choice for you Either it will go to NEI's office here in our building or to
the DLA Piper office in AZ (that l can see out my window). Make the choice in the next 45 minutes, or
I'll make it for you. No more fooling around Candess J. Hunter, Esq. I-IUNTER, HUMPI-IREY &
YAVITZ, PLC 2633 E Indian School Rd, #440 Phoenix, Arizona 85016 602-275-7733 Telephone 480-
452-1376 Facsimile 480-250-5637 Mobile hunter@hhylaw.com www.hhylaw.com NOTICE: This e-
mail may contain confidential and privileged material for the sole use of the intended recipient Any
review or distribution by others is strictly prohibited If you are not the intended recipient, please contact
the sender and delete and destroy all copies Thank you. ----- Original Message ----- From: CJH To:
"Dickinson, Michelle J." Sent: 10/15/2009 ]0:30AM Subjeet: RE: FW: Re: NEI laptop Michelle, Isabel
is out of the office today, but l saw this email and must respond. You were informed on September 10
that NEI was in possession of Joe's laptop, that it had no NEI data on it and that Joe wanted it back
immediately The laptop was in this building in AZ, but you and NEI refused to return it, and to make
matters worse, NEI removed it from the building and from Arizona (interstate transportation of stolen
goods). Now over a month later, you finally send this email, acknowledging that everything Joe told you

10/23/2009

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about the laptop was true. Let me make myself clear, you are holding stolen property. The police are
being notified You can make all of the excuses that you want to, but continuing to hold someone else's
property after they have demanded its return is theft. Look it up. Rega_rding NEI's computer, we have
tried to return it to you, but you have not agreed to accept it. We tried to deliver it to NEI right here in
the building (as they are moving out) but they refused it, claiming they had to talk to "their iawyer" first.
l WILL NOT KEEP THIS COMPUTER lN THIS OFFICE FOR ANOTHER DAY. It's your choice,
either NEI accepts it downstairs or l will personally deliver it to the DLA Piper office at l pm AZ time
today. Your choice. If l don't hear from you in the next two hours, l will make the choice for you.
Candess J. Hunter, Esq. HUNTER, HUMPHREY & YAVITZ, PLC 2633 E Indian School Rd, #440
Phoenix, Arizona 85016 602-275-7733 Telephone 480-452-1376 Facsirnile 480-250-5637 Mobile
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material for the sole use of the intended recipient Any review or distribution by others is strictly
prohibited If you are not the intended recipient, please contact the sender and delete and destroy all
copies. Thank you. ----- Original Message ----- From: "Dickinson, Michelle J." To: Sent: 10/14/2009
5:31PM Subject: Re: NEI laptop lsabel, Our computer consultants have determined that there is no NEI
data on the laptop that Joe returned to NEI a year ago. Accordingly, we are prepared to make
arrangements for the exchange of the laptops and imaging of the tower. Please advise as to when Joe can
get the tower out of storage for imaging so that we can set this up. Michelle J. Dickinson DLA Piper
LLP (US) 6225 Smith Avenue Baltirnore, Maryland 21209-3 600 (410) 580~4137 Direct Phone (410)
580-3137 Direct Fax michelle.dickinson@dlapiper.com ATTORNEY WORK PRODUCT ----- Original
l\/Iessage ----- From: lsabel M Humphrey To: Dickinson, Michelle J. Sent: Wed Oct 14 14:49:12 2009
Subject: RE: NEI laptop l\/Iichelle, we are not comfortable continuing to hold onto NEI's laptop. I
repeatedly tried to get instructions from you to return it, and you would not give me the name of
someone at NEI authorized to accept it. You said you would send a computer consultant last week to
pick it up, but we have heard nothing We just sent a staff member downstairs to NEI's office to return it,
and they refused to accept it. If you don't make other arrangements by the end of today, we will put the
laptop in a FedEx box and ship it to you. In the meantime, Joe has contacted police regarding NEI's
continued refusal to return his laptop. lsabel M. Humphrey, Esq. HUNTER, HUMPHREY & YAVITZ,
PLC 2633 E Indian School Rd, #440 Phoenix, Arizona 85016 Telephone: 602-275-7733 x103 Direct
Fax: 480-452-1374 isabel@hhylaw.com www.hhylaw.com NOTICE: This e~mail may contain
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10/23/2009

